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          EXHIBIT A
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       Your Honor, I take full responsibility for my actions on the tragic day of January 6, 2021.
I was not acting on behalf of an individual or group. I was however naïve, reckless, selfish, and
emotionally unstable. I have caused a wake of devastation and pain to my loved ones, our
community, and many others.

        I arrived in Washington on the 5th of January due to a scheduling conflict with my dispatch.
I did not have a load to transport after I delivered my load of produce from I believe it was Georgia
to Maryland. I made the choice not to drive back to Arkansas empty due to fuel cost and not making
any money on an empty load. So I had a 48 hour window to wait for a load to become available
per my dispatch. I then made the decision to listen to the outgoing president of the United States
speak his last address to the American people in D.C.

       I was astonished to see how many people showed up on a workday to hear an outgoing
president speak. It never occurred to me that danger loomed in the background.

       I met and spoke to Americans of all walks of life and all spectrums of political thought. It
was a lot to take in how so many different points of view could be at the same place and at the
same time.

         I was talking and walking with the flow of the crowd when you could heat what sounded
like firecrackers. I at this point still visiting and walking didn’t feel a threat or in danger from what
I later learned were ordnance being fired. The crowd was amazing in size and people were
everywhere. We were singing all sorts of American themed songs. We then started to get a tickle
in our throats and started to be overtaken by smoke. This is when I began to realize it was tear gas
and that we were in danger. There was an ocean of panicked people. You could sense the crowd’s
mood change as the bangs started becoming regular and with the chanting of “we can’t breathe.”
I said a quick prayer.

        I watched the chaos unfold before my very eyes. Injured people started to surface from all
directions. At some point, it became clear EMS wasn’t going to wade through the crowd. I’ve been
trained on two occasions to assist in life saving measures. I entered the frey to help the injured, by
handing out water. The first group of people were covered in vomit, snot, and some blood. They
appeared to be in shock. Someone was bleeding from a baton strike to the head.

        I continued slowly and came upon a woman who was on the ground. I realized she was
being crushed and people were cascading down on top of each other. I yelled “get her up.” We
grabbed her and were able to get her to her feet. When I turned around and saw people stacked, it
seemed to be around five high and bodies were everywhere. I started yelling “get them up.” I made
my way to a pile which had an elderly man at the bottom bleeding from his head and in serious
pain. I started pleading for help. “Stop pushing! Stop pushing! They’re going to die!” I managed
to grab the man from his back with my arms under his. He screamed out in pain “My legs! My
legs! My legs!” His legs were trapped. While this is going on, the crowd is yelling for help and we
are being gassed and maced. My only intentions were to help as many people as possible. I had to
abandon the man.
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        I was trying not to fall and also trying to focus and noticed a figure to my left about eye
level. They were on the ground. I made my way up the steps pointing to my face and showing my
hands in hopes the wall of shielded officers wouldn’t continue spraying me. I then pointed to the
body. When I reached the individual, they appeared not to have eye movement or to be breathing.
They seemed grey in tone, and my emotions were now overloading. The sound went silent. I then
started shouting to the officers behind the wall of shields “This person is dead! They are dead!” I
was expecting them to help drag them to safety behind the wall. They didn’t respond and I was
screaming. I now realized the officers were more than likely in fear for their own safety. Thanks
to a nameless individual from my left they joined me at the entrance of the tunnel and we dragged
the body to a flat spot and where aid was being given. I was in a state of absolute shock and horror.

        It's clear to me now that I could not assisted any more than I did due to my emotional state.
I cracked under the pressure and the crowd was in a full out medieval free-for-all.

         I see another person dragged to safety while unconscious. The amount of rage was boiling
over. I tried not to fall but was covered in mace. My vision briefly blurred. Then my hearing started
to come back as I heard someone say “pick up that flag.” Without thinking, I picked it up. The way
I behaved in the moments that followed was out of character.

       I relive this nightmare on a regular basis. I can tell you for certain that I will do everything
in my power to prevent this type of horror from ever happening again. I am sorry for my outrageous
behavior and to any officers who were injured, my family, and our Republic for any shame I have
brought upon them.

        It’s difficult knowing that what took 24 years to build and grow could be destroyed in less
than a few minutes let alone that I am the only one responsible for all the suffering. My best friend
and wife of 19 years along with our two beautiful children have been deprived of my physical
presence due to my conduct and have suffered tremendously. Our youngest at 15 has been forced
to morph from childhood to womanhood without me I have deprived her of a shoulder to cry on
and the security of a protection that dads are supposed to provide. It has been difficult reading with
her over the phone and trying to do homework. It saddens me not to know the faces or character
of the friends who influence her day to day, physically and emotionally, when she mentions them.
Then there is our oldest who will be 18 this year and has been forced to become the man of the
house in my absence. We have taken great pride in showing him the way a man is supposed to
conduct himself and can only hope he stays the course. We have always been honest and open
with our children. Especially when we stumble, mess up, or just fail at something. Mistakes happen
with everyone. It’s how we move forward that matters. Own it and move forward in a positive
manner but correct the issue or behavior. I am doing just that and have assured our children that
being in jail isn’t a badge of honor or cool. I have robbed our son of some of the most important
social and memorable moments of his high school years and his young life. My actions have
affected his trajectory already and I am deeply worried about further damage in my absence. It’s
absolutely clear that I have endangered my wife’s safety, physically and financially. It never
occurred to me that my actions would negatively affect her life in such a horrific manner. She has
suffered deeply emotionally and has somehow managed to hold our family together. I hope to join
them soon so we may be able to piece our family back together again. I also hope she can forgive
me for my thoughtlessness and the betrayal to our family’s best interest. I am sorry for the pain I
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have caused and will never put myself in this position again. I love my family deeply and hope to
soon be reunited with them and our community.


Respectfully,
Peter Francis Stager
